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                                                                         United States District Court
                                                                           Southern District of Texas

                                                                              ENTERED
                                                                           February 02, 2023
                      UNITED STATES DISTRICT COURT
                                                                           Nathan Ochsner, Clerk
                       SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION


JENNIFER HARRIS,                          §
                                          §
         Plaintiff,                       §
                                          §
VS.                                       §   CIVIL ACTION NO. 4:21-CV-01651
                                          §
FEDEX CORPORATION,                        §
                                          §
         Defendant.                       §

                              FINAL JUDGMENT

       On October 25, 2022, the jury rendered a verdict in favor of the plaintiff,

Jennifer Harris, against the defendant, FedEx Corporate Services, Inc., on her claims

for unlawful discrimination or retaliation under the Civil Rights Act of 1866, 42

U.S.C. § 1981, and Title VII of the Civil Rights Act of 1964, and awarded Ms. Harris

$120,000 in past compensatory damages, $1,060,000 in future compensatory

damages, and $365,000,000 in punitive damages.

       Pursuant to Federal Rule of Civil Procedure 58(b), it is ORDERED that

Plaintiff Jennifer Harris shall recover from Defendant FedEx Corporate Services,

Inc. $366,060, million with prejudgment interest on the compensatory damages in

the amount $16.49 per day with the number of days from May 20, 2021, to the day

before the judgment is rendered for Plaintiff, and post judgment interest from the


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dated of this judgment at the rate of 4.69%, for all of which execution may issue.

Costs of court are taxed against the defendant.

       It is so ORDERED.

       SIGNED on February 2, 2023, at Houston, Texas.


                                              _____________________________
                                              Kenneth M. Hoyt
                                              United States District Judge




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